Case 2:11-cr-20362-DPH-RSW ECF No.1 filed 06/06/11 PagelD.1 Pagelof3

ih Ad
ORIGINAL

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff, fonts . ' -er-20362
" ma Whalen, RSteven
D-| ASHOK BADHWAR, ‘06-06-2011 At 11:23 AM

D-2. GLO WRECKING CO.

Defendant.

INFORMATION

THE UNITED STATES ATTORNEY CHARGES:

COUNT I
(42 U.S.C. §§ 7413(c)(1) and 2 -- Clean Air Act)

D-1 ASHOK BEDHWAR
D-2. GLO WRECKING CO.

In or about December 2008, in the Eastern District of Michigan, Defendants ASHOK
BEDHWAR, and his company, GLO WRECKING CO., the owners and operators of a
demolition activity involving at least 260 linear feet of regulated asbestos-containing material on
pipes or at least 160 square feet of regulated asbestos-containing material on other facility
components, knowingly violated the Clean Air Act and federal asbestos regulations, as follows:

a. Detendants knowingly failed to adequately wet regulated asbestos-containing
material and to ensure that it remained wet until collected and contained and treated in

preparation for disposal, as required by 40 C.F.R. § 61.145(c)(6)(i);
Case 2:11-cr-20362-DPH-RSW ECF No.1 filed 06/06/11 PagelD.2 Page 2of3

b. Defendants knowingly allowed regulated asbestos-containing material to be
stripped, removed and otherwise handled and disturbed when there was not at least one on-site
representative present, such as a foreman or management-level person or other authorized
representative, who was trained in the provisions of the federal asbestos regulations and the
means of complying with them, as required by 40 C.F.R. § 61.145(c}(8).

c. Defendants knowingly failed to adequately wet the portion of the facility that
contained regulated asbestos-containing material during the wrecking operation, as required by
40 C-F.R. § 61.145(c)(9).

All in violation of 42 U.S.C. § 7413(c)(1) and 18 U.S.C, § 2.

BARBARA L. MCQUADE
United States Attorney

s/ ROSS MACKENZIE
ROSS MACKENZIE
Chief, Complex Crime Unit

JENNIFER BLACK WELL
JENNIFER BLACK WELL
Assistant United States Attorney

 

Dated: June 6, 2011
Case 2:11-cr-20362-DPH-RSW ECF No.1 filed 06/06/11 PagelD.3 Page 3of3

ws, ORIGINAL

United States District Court Criminal Case

Eastern District of Michigan

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form 1

Case:2:11-cr-20362

Judge: Hood, Denise Page

MJ: Whalen, R. Steven

Filed: 06-06-2011 At 11:23 AM

INFO USA v BADHWAR, ET AL (dat)

Reassignment/Recusal Information This matter was opened in the USAO prior to August 15, 2008 [ ]

 

 

| Companion Case Number:

 

Companion-Case Information

This may be a companion case based upon LCrR 57.10 (b}(4)}":

Judge Assigned:

 

0 Yes OX No

 

AUSA’s Initials:

 

 

Case Title: USA v. ASHOK BADHWAR

 

County where offense occurred : Wayne

 

Check One: XO Felony

1) Misdemeanor 0 Petty

Indictment/_f_ Information --- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number: |
Indictment/ Information --- based upon LCrR 57.10 (d) {Complete Superseding section

below].
Superseding Case Information

Superseding to Case No:

Judge

 

OOOO

Defendant name

 

Original case was terminated; no additional charges or defendants.

Corrects errors; no additional charges or defendants.

Involves, for plea purposes, different charges or adds counts.

Embraces same subject matter but adds the additional defendants or charges below:

Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Attorney is the attorney of record for the above captioned case.

June 6, 2011 Nz H1~. 0 D
Date JENAIFER L. BLACK WELL
Assistant United States Attorney
211 West Fort Street, Suite 7001
Detroit, MI 48226
telephone:(3 13) 226-9165
facsimile: (313) 226-2873

e-mail:

jennifer. blackwell3 @usdoj.gov

Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, (2) the same or related parties are present, anc the cases arise out of the
same transaction or occurrence. Cases may be companion cases even though one of them may have already been terminated,

10/13/09
